      Case 1:21-cv-10245-JCB Document 41 Filed 03/10/22 Page 1 of 1



                    UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS



Judy Thomas

V.                               CIVIL ACTION NO. 1:21-cv-10245-JCB



Jones Day


                   SETTLEMENT ORDER OF DISMISSAL



BOAL, M.J.


     The Court have been advised that the above-entitled action
has been settled.

     IT IS HEREBY ORDERED that this action is hereby dismissed

without costs and without prejudice to the right, upon good

cause shown within sixty (60) days, to reopen the action if

settlement is not consummated.




                                      /s/ Steve K. York
March 10, 2022                   --------------------------
                                      Deputy Clerk
